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                              EXHIBIT W


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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The D.C. Pretrial Services Agency: Lessons From
Five Decades of Innovation and Growth




                 In 1963, the District of Columbia Junior Bar Association toured the city’s jail and wrote a scathing
                 report on its conditions. The report noted that most of the inmates were pretrial defendants who
                 could not pay bail. As a result of that report, the Georgetown Law School submitted a proposal to
                 the Ford Foundation for a two-and-one-half year pilot bail project, similar to the Manhattan Bail
                 Project, which had been implemented in New York City two years earlier. The proposal was funded,
                 and later that year, with a staff of five interviewers and one secretary, the D.C. Bail Project began its
                 work, using a borrowed office in the law school’s building, close to the courthouse.

                 Bruce Beaudin, who was a Georgetown law student at the time, was the first interviewer hired by
                 the D.C. Bail Project. He recalls the first case the program handled. “It took two-and-a-half days,”
                 says Beaudin. “The judge had never gotten detailed information about the defendant for a bail
                 hearing before, and he kept asking for more, so we’d have to go back and get what he wanted. But in
                 the end he did release the defendant.”

                 Today, nearly 50 years after that modest beginning, the D.C. Pretrial Services Agency has grown
 Bruce Beaudin
                 to a staff of over 300, interviewing about 20,000 defendants a year, supervising about 12,000, and
                 providing a variety of other services to both the U.S. District Court and the Superior Court of the
                 District of Columbia. It is universally acknowledged by stakeholders within the District as being
                 indispensible to the operation of the criminal justice system.

                 The agency is also a model nationally for demonstrating that the vision for pretrial justice outlined
                 in the standards of the American Bar Association and the National Association of Pretrial Services
                 Agencies can be achieved. That vision calls for the use of the least restrictive conditions of release to
                 reasonably assure public safety and appearance in court, the use of detention when those assurances
                 cannot be met, the sparing use of financial bail, and the abolition of commercial surety bail.

                 The following chart shows the incremental, but steady, progress made by the agency in making a
                 reality the vision for a pretrial release decision-making process that results in the safe release of the
                 majority of defendants and virtually eliminates the use of money bail.




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2                 Moving Away From Reliance on Money Bail


                                            Non-Financial Release Rates for the Years
                                            1962, 1965, 1967, 1971, 1975, and 2008
                     100
                                                                                                       80
                       80                                                               70
                       60                                                 56
                                                           44
                       40

                       20
                                             11
                                 0
                        0
                                1              2             3             4             5              6

                  Sources: Wayne H. Thomas, Jr., Bail Reform in America, University of California Press, Berkley, 1976 for
                  data from 1962 through 1975, and Leading the Field: District of Columbia Pretrial Services Agency FY 2008
                  Annual Report for 2008 data.

                  As the chart shows, 80% of all defendants are currently released without a money bond. As to the
                  remainder, 15% are held by the court without bail. Only five percent have financial bail. None are
                  out on commercial surety bail.

                  The high non-financial release rate has been accomplished without sacrificing the safety of the
                  public or the appearance of defendants in court. Agency data show that 88% of released defendants
                  make all court appearances, and 88% complete the pretrial release period without any new arrests.1

                  This Case Study looks at how the D.C. Pretrial Services Agency moved the District’s courts from
                  being totally reliant upon money bail to virtually eliminating its use while maintaining high rates
                  of court appearance and good conduct while on pretrial release. It tells the story of an agency
                  that has always been on the move, seeking to define its own future and the future of the system
                  it serves, rather than allowing circumstances outside its control to dictate the course of events. It
                  also provides lessons that other jurisdictions could learn in seeking to move closer to the vision
                  enunciated in the national standards.


                  Getting Off The Ground
                  According to Beaudin, who went on to serve as director of the agency from 1968 until his
                  appointment as a District of Columbia Superior Court judge in 1984, the agency began by
                  targeting selected felony defendants who remained in jail after their first appearance and while
                  they were awaiting indictment. “We had no standing in the courtroom,” explains Beaudin. “So
                  when we identified those who we thought had a chance we had to take those cases to legal aid (the




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3                 predecessor to the public defenders office) and the prosecutor and have them bring those cases
                  before the court.”

                  This situation began to change with the passage of the Federal Bail Reform Act of 1966, which
                  provided a list of factors that the judge must consider in making a pretrial release decision. Many
                  of those factors, such as community ties, residence status, and employment, involved information
                  that was not available to the court in most cases. But it was information that the Bail Project,
                  which by then was called the D.C. Bail Agency,2 was collecting. And since the Federal Bail
                  Reform Act was applicable to courts within the District of Columbia, judges in D.C. needed the
                  added information.

                  Thus, by 1967, the agency was interviewing all felony defendants and providing the results of its
                  investigation directly to the court. The number of staff had grown to 13, with an annual budget of
                  $130,000. Still, the growth did not come without difficulties as the agency worked to implement,
                  through its recommendations, the Bail Reform Act’s call for release on the least restrictive
                  conditions reasonably calculated to assure appearance. “We went through a lot of trials and
                  tribulations back then,” says Beaudin. “Some judges kicked us out of their courtrooms.”

                  As Beaudin later wrote of the difficulties encountered in those days: “Little thought was given to
                  testing the conditions enumerated in the [Bail Reform] Act and financial bond continued to be
                  used as a means of detaining high risk accused. Some of the problems of administering the Act
                  which had not been anticipated soon surfaced. There was no method designed to notify those
                  released of their court dates. There was no one to supervise releasees prior to trial.”3

                  These concerns led to the creation of a committee in 1968, chaired by U.S. District Judge George
                  Hart, to study the implementation of the Bail Reform Act in D.C. That committee, looking at
                  the work that the agency had done up until that point, recommended expansion of the agency “to
                  carry out a broad new range of pretrial services,” including providing supervision of defendants and
                  serving as “the central check-in and information agency at the courts for all defendants released
                  pending appearance in criminal proceedings.”4


                  The Agency’s Mission Evolves
                  In 1970, Congress adopted most of the Hart Committee’s recommendations as part of the D.C.
                  Court Reform and Criminal Procedure Act. This Act, which took effect in 1971, greatly expanded
                  the responsibilities of the agency, leading to a growth from 13 to 39 staff and the establishment of
                  a supervision unit. The Act also required that judges consider the risk of danger to the community,
                  in addition to failure to appear in court, in the pretrial release decision, and authorized the court
                  to hold defendants in pretrial detention in specific, limited circumstances. In addition, the Act
                  mandated that the agency “supervise all persons released on nonsurety release, including release
                  on personal recognizance, personal bond, nonfinancial conditions, or cash deposit or percentage
                  deposit with the registry of the court;” a provision that came to be understood to mean that the
                  agency did not supervise persons released on surety bonds.5




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4                 “The organizational culture of the agency was formed at that time,” says John A. ( Jay) Carver, who
                  joined the agency in 1971 while still in law school, and served as its director from 1984 to 1997.
                  As Carver explains, while the agency was established out of concern over the poor not being able
                  to post bail, by the early 1970s it was clear that the law required a new mission for the agency – to
                  provide information and a range of options to the court on all cases so that the court could make an
                  informed decision in every case.

                  The agency recognized that the only way to assure that the court was getting the best information
                  and range of options possible was to collect and analyze data. At a time when automated
                  information systems were just a dream for most government agencies, the agency was hard at work
                  to build its own computer data base. In 1974, the agency sought and received a U.S. Department
                  of Justice grant of $53,000 to develop the automated system. With the system, which was
                  implemented in 1977, the agency was able to enter and store information from its interview and
                  verification process, speed up significantly the time needed to prepare reports, monitor compliance
                  with release conditions, and generate court date reminder letters for defendants. The agency was
                  also able to generate data on its performance.

                  And the agency used those data to drive its innovations. For example, the data showed that in the late
                  1970s the agency was refraining from making any recommendation to the court in 40 percent of cases
                  due to the perceived high risks presented. When the agency reviewed data showing that the court was
                  actually releasing about 40 percent of the defendants that the agency was not even recommending, it
                  decided it had to revamp its recommendation scheme. It determined that it would no longer refrain
                  from making a recommendation in the tough cases. Rather, it would present the court with a release
                  option – with conditions, as appropriate – in every case. Moreover, since the law required that the
                  court consider both danger to the community and appearance in court in the release decision, the
                  agency would make a separate assessment for each of these two considerations.

                  The agency also decided that it would begin to encourage the court and prosecutor’s office to make
                  greater use of the detention provisions allowed by law. Up until that time, the detention provisions
                  of the Court Reform Act were being invoked sparingly. The court was continuing to use high
                  money bail as the vehicle to hold the highest risk defendants. The agency began identifying which
                  defendants were eligible for detention under the law, and recommending hearings to determine
                  whether detention was necessary to protect the safety of the community.

                  The new recommendation scheme was implemented in 1980. In an evaluation of that new scheme,
                  published in 1984, the evaluators suggested that the agency re-think its position of making a release
                  recommendation in every case because, according to the findings of the evaluation, the court was
                  declining to follow those recommendations in a large number of cases. In a written response to that
                  recommendation, the agency said: “We are committed to forging policies that ‘set the tone’ for what
                  we believe to be the requirements of the law. If these policies do not seem to comport with current
                  practice, we do not feel it incumbent upon us to change them only to reflect the status quo.”�

                  Rather than change its recommendation policies so that they better fit the decisions being made
                  by the court, the agency responded by working to expand the options available to the court. “The




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5                 commitment was to always expand the range of options available to judges,” says Carver. Over
                  the course of the next few years, the agency implemented three significant initiatives designed to
                  address the concerns of judges: a Failure to Appear Unit, which worked to prevent the issuance of
                  bench warrants for defendants who had legitimate reasons for missing court and resolving warrants
                  once issued by encouraging defendants to voluntarily surrender on the warrant to the agency; a
                  Drug Testing Unit, which screened all defendants for drug use prior to the initial appearance in
                  court and provided regular testing of defendants while on release when ordered by the court; and
                  an Intensive Supervision Unit, which supervised higher risk defendants in halfway houses.

                  These innovations gave the court the confidence to expand non-financial release, but there was still
                  significant use of money bail in cases of defendants who were eligible for detention. Data collected
                  by the agency from a six-month period in 1990 showed that while 29% of defendants were eligible
                  for detention hearings, such hearings were held for only about 5%, and less than half of those were
                  ultimately detained. Two-thirds of those eligible for detention had a money bond set instead. While
                  many of these defendants remained in jail because they could not post the bail, many others of
                  these potentially dangerous defendants were able to purchase their release.

                  In 1991, during the height of a crack cocaine epidemic in D.C., there were a number of highly-
                  publicized drive-by shootings that focused attention on the bail system. Carver worked closely with
                  the U.S. Attorneys Office and the Public Defender’s Office on a bill before the D.C. Council. The
                  resulting legislation, passed in 1992, expanded the scope of pretrial detention and included several
                  rebuttable presumptions for detention. Carver was also successful in getting language inserted
                  in the bill that prohibited the court from setting a financial bail that resulted in the defendant
                  remaining in jail. (See box for the language of this provision.)

                  (Sec.2 §23-1321(c)(3) of the D.C. Code)

                  A judicial officer may not impose a financial condition under paragraph (1)
                  (B)(xii) or (xiii) of this subsection to assure the safety of any other person or
                  the community, but may impose such a financial condition to reasonably
                  assure the defendant’s presence at all court proceedings that does not result
                  in the preventive detention of the person, except as provided in § 23-1322(b).
                  (Emphasis added.)

                  The impact of this bill was immediately apparent. In the year before the law took effect only 2%
                  of defendants were held under a detention provision. In the year after it became law, 15% were
                  detained.

                  Many in the District’s criminal justice system credit Carver’s insertion of the clause forbidding
                  the use of money bail to detain a defendant as the single most important event in ridding D.C. of
                  bail bonding for profit and rendering any use of money bail to rare occasions. “If that statutory
                  command is interpreted to mean that you have a right to a bond that you can meet, then money
                  quickly loses its efficacy in almost all contexts,” notes D.C. Superior Court Senior Judge Truman A.
                  Morrison III, pointing out that 95% of defendants in D.C. are indigent.




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6                 While acknowledging the importance of the 1992 act, Carver sees that the virtual demise of money
                  bail in D.C. and the certainty of detention for the highest risk defendants was a long process of
                  demonstrating how the pretrial release decision-making process could work without money bail.
                  “To make the detention parts work, we had to make the release options work. By expanding those
                  options, we got away from money. It was a natural progression.”


                  Sustaining a “Consistent Commitment to Innovation”
                  That long process of establishing a pretrial release process that could work well without relying on
                  money bail did not end in 1992. As Judge Morrison notes, the agency continues to exhibit “a consistent
                  commitment to innovation.” The agency, he says, has a “captive courthouse when they innovate. The
                  court listens to the agency when it has plans to make changes. This in itself is remarkable.”

                  Since 1992, the agency has begun and sustained the following initiatives:

                  • The administration of the Superior Court’s Drug Court Program, which acts
                    a diversion program for certain misdemeanor defendants and as a way to
                    receive a possible probation sentence for other defendants.
                  • Providing assessments and supervision for defendants participating in the
                    Mental Health Diversion Program for defendants with mental illness who are
                    charged with non-violent crimes.
                  • The establishment of the Specialized Supervision Unit, which targets
                    defendants with mental illness, mild mental retardation, and co-occurring
                    mental health and substance abuse problems.
                  • Providing supervision services to the East of the River Community Court,
                    which offers diversion opportunities to non-domestic violence related
                    misdemeanor defendants arising out of certain high crime areas of the city.
                  • The establishment of a U.S. Department of Health and Human Services-
                    certified on-site drug testing laboratory to provide the greatest possible
                    assurance of accurate drug test results.
                  • The implementation of the Drug Testing Management System to automate
                    the collection and analysis of urine samples for the on-site laboratory, using
                    barcode technology to track each step in the process and assure accurate and
                    timely transmittal of drug test results to the court.
                  • The implementation of the High Intensity Supervision Program, which uses
                    electronic monitoring (EM), including wireless cellular EM, and Global
                    Positioning System (GPS) technology to monitor high risk defendants.
                  • The establishment of New Directions, which provides sanctions-based
                    substance abuse treatment, supervision, and case management to drug-
                    involved defendants who do not otherwise qualify for Drug Court.
                  • The establishment of the Social Services and Assessment Center, which
                    conducts comprehensive mental health and substance abuse treatment
                    assessments of defendants.
                  • The development of PRISM, a web-based information system.




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7                          To some, consistently seeking to innovate, especially after the agency had virtually achieved the
                           vision of the ABA and NAPSA standards for a system that operates without bail money, may
                           seem to be risky. What would happen to the agency’s hard-won reputation for excellence if any of
                           its innovations should fail? “We don’t think about any risks in starting something new,” says Susie
                           Shaffer, director of the agency since 1997. “We focus on our mission and its principal stakeholder –
                           the court.” She explains that many initiatives start as pilot projects. “We run them for a while, figure
                           out what is working and what is not. By having the data to know what is working and what is not,
                           we can get the funding to make the adjustments and go to full implementation.”
      Susie Shaffer
  Director of the D.C.
Pretrial Services Agency   Implications for Other Jurisdictions
                           The agency’s administrators, past and present, have identified several keys to the success of the
                           agency in creating and sustaining bail reform that are transferrable to any jurisdiction:
                           • Belief in and focus on the mission and vision of the agency. The mission and vision of the agency
                             are constantly present before the staff (they are posted throughout their offices and are embedded
                             into their e-mail correspondences), and every piece of work that staff do is tied to the mission and
                             vision. “We strongly believe in what we do,” says Shaffer.
                           • Having a “reformer” mentality as an organizational culture. The reform that staff sought at the
                             outset was to fight against the injustice of poverty. As the bail laws changed, changing with it the
                             mission of the agency, the office culture retained the reformer mentality, but staff focused reform
                             efforts on providing good government.
                           • Empowering staff to be productive by creating a continuous learning environment. While in
                             its earliest years, on-the-job training was all that was available to new staff, the agency soon
                             designed a structured and intensive training program for new staff and ongoing in-service
                             training opportunities. Over the years, the training programs have been constantly reviewed and
                             enhanced. The agency also provides staff with an array of career development opportunities that
                             allow them to hone their skills. For example, the agency has established a Mentoring Program,
                             where senior staff members serve as mentors to less experienced staff.
                           • Making the collection, analysis and distribution of reliable data a high priority. The agency
                             learned very early in its life the role that data could play in identifying problems that needed to
                             be addressed and then designing problem-solving strategies. “Back then, we were the only reliable
                             source of data,” says Carver. “It is the reason why we were able to get federal grants.” Today, the
                             agency uses data in sophisticated logic models to measure performance and set new goals.
                           • Recognizing the importance of consultations and collaborations. From participation in in-
                             service training of other key stakeholders (i.e., judges, prosecutors, public defenders, police) to
                             making sure that it is always a participant at the table, the agency has been a full partner in the
                             District’s criminal justice system. Moreover, the agency has focused on how the whole system
                             can be enhanced with effective pretrial services. As Carver notes, “We’ve always tried to be
                             comprehensive in our approach. We’re not trying to solve just one piece of the puzzle.”
                           • Building on its reputation to get buy-in for new initiatives. As the reputation of the agency for
                             excellent work grew within the D.C. criminal justice system, so did the trust level of the agency.
                             The agency used that trust to convince key stakeholders that it could make new initiatives work.
                             “Success breeds success,” says Shaffer.




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8                 To be sure, there are factors that are unique to D.C. that certainly have contributed in part to the
                  successes the agency has enjoyed over the past five decades. For example, the resources available
                  to the program grew dramatically when it became a federal agency, but that did not happen until
                  2000 – long after the agency had established its local and national reputation for innovation and
                  excellence. And the agency has operated under statutes that closely match the model laid out in the
                  ABA and NAPSA Standards, but many state statutes declare a strong presumption for release by
                  non-financial means and allow the court to detain high risk defendants without bail.

                  The D.C. Pretrial Services Agency has drawn the only architectural plans that exist for successfully
                  building a pretrial release decision-making process that results in the safe release of the
                  overwhelming majority of defendants and does not rely on money bail. Other jurisdictions seeking
                  the same result should carefully examine what the District of Columbia has done.

                  Mission and Vision of the D.C. Pretrial Services Agency

                  The mission of the D.C. PSA is to assess, supervise and provide services for
                  defendants, and collaborate with the justice community, to assist the courts in
                  making pretrial release decisions. PSA promotes community safety and return to
                  court while honoring the presumption of innocence.

                  PSA’s vision is to thrive as a leader within the justice system by developing an
                  empowered workforce that embodies integrity, excellence, accountability, and
                  innovation in the delivery of the highest quality services.

                  _____________
                  1 Spurgeon Kennedy, “A Window Into Some of PSA Accomplishments During Fiscal Year 2009,” The
                     Advocate, Fall 2009, at 3.
                  2 The name of the agency was changed to the District of Columbia Pretrial Services Agency in 1978.
                  3 Bruce D. Beaudin, “Bail in the District – What It Was; Is; and Will Be,” American University Law Review,
                     Vol. 20 (1970-71).
                  4 Quoted in Wayne H. Thomas, Jr., Bail Reform in America, University of California Press; Berkley, 1976, pp.
                     166-167.
                  5 D.C. Court Reform and Criminal Procedure Act, Pub. L. 91-358, title II, § 210(a), 84 Stat. 640 (1970);
                     D.C. Official Code § 23-1303(h).
                  6 Mary A. Toborg, Anthony M.J. Yezer, Philip Tseng, and B. Lynn Carpenter, Pretrial Release Assessment of
                     Danger and Flight: Method Makes a Difference, Lazar Management Group, Inc., 1984, at 30.




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